Case 5:12-cv-00630-LHK Document 135-9 Filed 04/24/12 Page 1 of 5




                     EXHIBIT 5D




                               4
      Case 5:12-cv-00630-LHK Document
       Case5:12-cv-00630-LHK          135-9 Filed04/24/12
                              Document123    Filed 04/24/12 Page2
                                                             Page of
                                                                  2 of
                                                                     5 5



 1   Amy H. Candido
     amycandido@quinnemanuel.com
 2   Matthew S. Warren
     matthewwarren@quinnemanuel.com
 3   QUINN EMANUEL URQUHART
            & SULLIVAN, LLP
 4   50 California Street, 22nd Floor
     San Francisco, California 94111-4788
 5   (415) 875-6600
     (415) 875-6700 facsimile
 6
     Attorneys for Non-Party Google Inc.
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                         SAN JOSE DIVISION
11 APPLE INC., a California corporation,

12                Plaintiff,
                                                    CASE NO. 12-CV-00630-LHK
13         v.
14 SAMSUNG ELECTRONICS CO., LTD., a                 DECLARATION OF KEN WAKASA
   Korean corporation; SAMSUNG
15 ELECTRONICS AMERICA, INC., a New                 FILED UNDER SEAL
   York corporation, and SAMSUNG
16 TELECOMMUNICATIONS AMERICA,                      HIGHLY CONFIDENTIAL –
   LLC, a Delaware limited liability company,       ATTORNEYS’ EYES ONLY
17
                 Defendants.                        CONFIDENTIAL BUSINESS
18                                                  INFORMATION OF NON-PARTY
   SAMSUNG ELECTRONICS CO., LTD., a                 GOOGLE INC.
19 Korean corporation; SAMSUNG
   ELECTRONICS AMERICA, INC., a New
20 York corporation, and SAMSUNG
   TELECOMMUNICATIONS AMERICA,
21 LLC, a Delaware limited liability company,

22                Counterclaim-Plaintiff,
23         v.
24 APPLE INC., a California corporation,

25                Counterclaim-Defendant
26

27

28

                                                                      CASE NO. 12-CV-00630-LHK
                                                                    DECLARATION OF KEN WAKASA
      Case 5:12-cv-00630-LHK Document
       Case5:12-cv-00630-LHK          135-9 Filed04/24/12
                              Document123    Filed 04/24/12 Page3
                                                             Page of
                                                                  3 of
                                                                     5 5



 1 I, Ken Wakasa, declare as follows under 28 U.S.C. § 1746:

 2          1.      I am a Software Engineer for Google Inc. (“Google”). I have personal knowledge

 3 of the facts stated below, and if called to testify, I could and would testify as follows.

 4          2.      I have been employed at Google since April 2007. I work on the Android team.

 5 As part of my work on Android, I was involved in developing some portions of version 4.0 of

 6 Android, which is also called Ice Cream Sandwich.

 7          3.      Within Android Ice Cream Sandwich, there are many versions of Android. Some

 8 versions are internal to Google; others are posted on the Android Open Source Project; still other

 9 versions are used in devices sold to consumers. One device sold to consumers running a version

10 of Android Ice Cream Sandwich is the Samsung Galaxy Nexus. For the rest of this declaration, I

11 will discuss the version of Android Ice Cream Sandwich running on the Samsung Galaxy Nexus.

12 There are actually several sub-versions of Android Ice Cream Sandwich running on the Samsung

13 Galaxy Nexus, but they do not vary with regard to my descriptions below.

14          4.      One of the portions of Ice Cream Sandwich that I worked on is the Android

15 Keyboard. The most important file regarding the Android Keyboard, at least regarding character

16 alphabet input, is found at

17                                             This file is also helped by many other files, including

18

19

20                            , primarily handle the visual representation of the keyboard.

21                  provides an implementation of an input method editor.

22          5.      In Android, text displayed for editing is found within a TextView. The TextView

23 can hold text and display it for the user. It does not itself accept user input. Instead, the TextView

24 relies upon an InputConnection, which provides a connection between the input method and the

25 TextView. The input method is exactly what you expect: the method by which a user can provide

26 input to the TextView. Broadly speaking, the Android Keyboard is an input method.

27          6.      In a TextView, text can be either “committed” or “uncommitted.” Text that is

28 uncommitted is still being edited or input by the user. Only one block of text can be uncommitted

                                                      -1-                        CASE NO. 12-CV-00630-LHK
                                                                               DECLARATION OF KEN WAKASA
      Case 5:12-cv-00630-LHK Document
       Case5:12-cv-00630-LHK          135-9 Filed04/24/12
                              Document123    Filed 04/24/12 Page4
                                                             Page of
                                                                  4 of
                                                                     5 5



 1 at a time. The TextView will usually display the uncommitted block with an indicator that it is

 2 still uncommitted, usually a black or blue line under its text. When the input method wishes to

 3 send uncommitted text to a TextView, it calls InputConnection.setComposingText(), which then

 4 applies modifications on the Editable instance held by the TextView object. Use of the

 5 InputConnection.setComposingText() call tells the TextView that the current text is still being

 6 edited or input by the user.

 7         7.      Applying the above to a real-world example, consider a Samsung Galaxy Nexus on

 8 which a user wishes to compose an SMS message. If the user runs the Android Messaging

 9 application, taps on the main text composition box, and types the characters “t-e-s” using the

10 Android Keyboard, the Samsung Galaxy Nexus could look like this:

11

12

13

14

15

16

17

18

19

20

21

22

23         8.      In this example, the letters “Tes” in the TextView are uncommitted, as indicated by

24 the blue line under them. The Android Keyboard has provided three suggested words: “Tes,”

25 “Yes” and “Tea”.

26         9.      If the user taps on any of these three areas – “Tes ”, “Yes” or “Tea” –

27

28                       followed eventually by a call to InputConnection.commitText(), which

                                                    -2-                        CASE NO. 12-CV-00630-LHK
                                                                             DECLARATION OF KEN WAKASA
Case 5:12-cv-00630-LHK Document
 Case5:12-cv-00630-LHK          135-9 Filed04/24/12
                        Document123    Filed 04/24/12 Page5
                                                       Page of
                                                            5 of
                                                               5 5
